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     Attorney for Defendant
6    TERI SCHELL
7

8
                           IN THE UNITED STATES DISTRICT COURT
9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,           )              2:14-CR-00325-JAM
                                         )
13
                             Plaintiff,  )
14                                       )              REQUEST FOR ORDER AND
     v.                                  )              ORDER TO
15                                       )              EXONERATE BOND AND
                                         )              RETURN PASSPORT
16
     TERI SCHELL,                        )
17                                       )
                             Defendant.  )
18   ___________________________________ )
19

20          On November 7, 2014, the court ordered Ms. Schell released on a $50,000 unsecured
21   bond subject to conditions, which included that she surrender her passport. ECF Nos. 2, 7. On
22
     November 14, 2014, Ms. Schell surrendered her United States passport to the court. ECF No.
23
     12.
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25          On February 14, 2019, the court granted the government’s request to dismiss all charges

26   in the indictment as to Ms. Schell. ECF No. 111. Ms. Schell has no other charges pending.
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                                    Request for Order and [Proposed] Order
                                    to Exonerate Bond and Return Passport
                                                      -1-
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1           Accordingly, Ms. Schell respectfully requests that the court exonerate the bond posted to
2
     secure her release and return her passport.
3
     Dated: February 20, 2019                             Respectfully Submitted,
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5

6                                                         /s/ Erin J. Radekin
                                                          ERIN J. RADEKIN
7                                                         Attorney for Defendant
8                                                         TERI SCHELL

9
                                                   ORDER
10

11          Good cause appearing,

12          IT IS HEREBY ORDERED that the bond posted to secure the release of the defendant,
13
     Teri Schell, be exonerated and that her United States passport surrendered to the court be
14
     returned to her.
15
     Dated: 2/20/2019                                     /s/ John A. Mendez_____________
16
                                                          HON. JOHN A. MENDEZ
17                                                        United States District Court Judge
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                                      Request for Order and [Proposed] Order
                                      to Exonerate Bond and Return Passport
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